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                                                                        CLERZS OFFIX U.S.DISX COUR)
                                                                              ATROAXOKE.VA
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                                         IN THE                                JUN 25 2212
                              UNITED STATES DISTRICT COURT
                                        FOR THE                            t:
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                              W ESTERN DISTX CT OF VIRGINIA                    o       f
                                    DANVILLE DIVISION



     UNITED STATES OF AM ERICA
                                                   CriminalNo.4:09CR00006'
                                                                         -O W
     JARREU KENDALL DOSS




           TheUnited StateshasmovedthtcourtpursuanttoRule35oftheFedtralRulesofCriminal

     Prooedure for the ente of an order granting the defendant,JARRETT KENDALL DOSS,a

     reduction of48monthsfrom hiscurrentterm ofI20monthsimprisonmentthatwasimposedbythe

     courton June 18,2010,based upon the factthathc has provided substantial%sistance in the

     investigation and prosccution ofanotherperson orpersonswho have comm ittcd offenses.n e

     AssistantUnitedStatesAttorneywhomadethtmotionhasadvisedthecourtthathehasspoktnwith

     counselforthcdefendantwho,aherconsultationwithhisclient,hasconfirmcdthatheandhisclient

     joininthemotionandagreethatareductionof48monthsisreasonableandappropriate.
           Based upon the foregoing, it is hereby ORDERED tbqt the sentence of 129 months
     imprisonmentim posed uponthedefendantbythiscourtonJune 18,2010,ishereby reducedby48

     months. Allothertermsofthejudgmentorderand thttermsofany othersentcncethattht
     defendant
Case 4:09-cr-00006-MFU         Document 345 Filed 06/25/12         Page 2 of 2   Pageid#:
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   may be serving remain unchanged.



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               his z%   -   ay oflune,2012.




                                        .   H    M BLE JAM ES C. URK
                                            UNITED STA'FES DISTRICT JUDGE




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